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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           :
MARY LOU WALEN                             :
                                           :
Plaintiff,                                 :
                                           : Case No.: 1:15-CV-01718-BAH
              vs.                          :
                                           :
THE UNITED STATES OF                       :
AMERICA, et, al.                           :
                                           :
        Defendants.                        :
__________________________________________

       PLAINTIFF’S MEMORANDUM OPPOSING DEFENDANT DISTRICT OF
              COLUMBIA’S MOTION FOR SUMMARY JUDGMENT

       COMES NOW, the Plaintiff Mary Lou Walen, by and through undersigned counsel, John

J. Yannone, Esq. and Price Benowitz LLP, and hereby respectfully moves this Honorable Court to

deny Defendant District of Columbia’s Motion for Summary Judgment, and for reasons states as

follows:

       Plaintiff incorporates her Memorandum Opposing Summary Judgement as if fully restated

herein and asserts that genuine disputes of material fact exist concerning the actual inspection and

maintenance of the tree in question, issues relating to the concurrent jurisdiction of the tree by the

Defendants, and questions of differing expert opinions. Defendant is liable to Plaintiff for the

injuries she suffered as a result of the falling tree limb. For these reasons, summary judgment is

inappropriate at this time and Defendant’s Motion must be denied.




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                                                        Respectfully Submitted,

                                                       PRICE BENOWITZ, LLP
                                                       By:     /s/ John J. Yannone
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                                                       Attorneys for Plaintiff



                             REQUEST FOR HEARING
   Plaintiff hereby requests a hearing on the Motion


                                                /s/ John J. Yannone
                                                John J. Yannone, Esq.



                            CERTIFICATE OF SERVICE
   I do hereby certify that on this 21st day of December, 2018, a copy of the foregoing

Plaintiff’s Motion Opposing Defendant District of Columbia’s Motion for Summary

Judgment was served by electronic mail and/or U.S. mail on all counsel of record.


                                                /s/ John J. Yannone
                                                John J. Yannone, Esq.




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